        Case 2:22-cv-06008-GRB-ARL Document 10 Filed 10/07/22 Page 1 of 5 PageID #: 609

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

         ONTEL PRODUCTS CORPORATION,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                         2:22-cv-06008(GRB)(ARL)
                                v.                                           Civil Action No.
                                                                      )
    BEAUTYKO USA INC., IGIA NEW YORK INC.,                            )
     TELESHOP INC., LIFESHOP USA INC., and                            )
               DERMA OIL INC.,                                        )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          BEAUTYKO USA INC.
                                            c/o The Corporation
                                            57 Watermill Lane
                                            Great Neck, NY 11021




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           DICKINSON WRIGHT PLLC
                                           John S. Artz
                                           350 S. Main Street, Suite 300
                                           Ann Arbor, MI 48104


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                                CLERK OF COURT

               10/7/2022
Date:
                                                                                          Signature off C
                                                                                                        Clerk
                                                                                                          lerk or Deputy Clerk
        Case 2:22-cv-06008-GRB-ARL Document 10 Filed 10/07/22 Page 2 of 5 PageID #: 610

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

         ONTEL PRODUCTS CORPORATION,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                         2:22-cv-06008(GRB)(ARL)
                                v.                                           Civil Action No.
                                                                      )
    BEAUTYKO USA INC., IGIA NEW YORK INC.,                            )
     TELESHOP INC., LIFESHOP USA INC., and                            )
               DERMA OIL INC.,                                        )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          DERMA OIL INC.
                                            104-18 109th Street
                                            Richmond Hill, NY 11419




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           DICKINSON WRIGHT PLLC
                                           John S. Artz
                                           350 S. Main Street, Suite 300
                                           Ann Arbor, MI 48104


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                                CLERK OF COURT


Date:          10/7/2022
                                                                                          Signaturee ooff Clerk or Deputy Clerk
        Case 2:22-cv-06008-GRB-ARL Document 10 Filed 10/07/22 Page 3 of 5 PageID #: 611

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

         ONTEL PRODUCTS CORPORATION,                                     )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                           Civil Action No. 2:22-cv-06008(GRB)(ARL)
                                                                         )
    BEAUTYKO USA INC., IGIA NEW YORK INC.,                               )
     TELESHOP INC., LIFESHOP USA INC., and                               )
               DERMA OIL INC.,                                           )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          IGIA NEW YORK INC.
                                            c/o Adie Sivan
                                            1 Brewster Street, Suite 3
                                            Glen Cove, NY 11542




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           DICKINSON WRIGHT PLLC
                                           John S. Artz
                                           350 S. Main Street, Suite 300
                                           Ann Arbor, MI 48104


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                               CLERK OF COURT


Date:          10/7/2022
                                                                                          Signature off C
                                                                                                        Clerk
                                                                                                          lerk or Deputy Clerk
        Case 2:22-cv-06008-GRB-ARL Document 10 Filed 10/07/22 Page 4 of 5 PageID #: 612

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

         ONTEL PRODUCTS CORPORATION,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                         2:22-cv-06008(GRB)(ARL)
                                v.                                           Civil Action No.
                                                                      )
    BEAUTYKO USA INC., IGIA NEW YORK INC.,                            )
     TELESHOP INC., LIFESHOP USA INC., and                            )
               DERMA OIL INC.,                                        )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          LIFESHOP USA INC.
                                            215-11 106th Avenue
                                            Queens Village, NY 11429




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           DICKINSON WRIGHT PLLC
                                           John S. Artz
                                           350 S. Main Street, Suite 300
                                           Ann Arbor, MI 48104


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                                CLERK OF COURT


Date:       10/7/2022
                                                                                          Signature of
                                                                                                    of Clerk or Deputy Clerk
        Case 2:22-cv-06008-GRB-ARL Document 10 Filed 10/07/22 Page 5 of 5 PageID #: 613

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

         ONTEL PRODUCTS CORPORATION,                                     )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )                      2:22-cv-06008(GRB)(ARL)
                                v.                                           Civil Action No.
                                                                         )
    BEAUTYKO USA INC., IGIA NEW YORK INC.,                               )
     TELESHOP INC., LIFESHOP USA INC., and                               )
               DERMA OIL INC.,                                           )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          TELESHOP INC.
                                            c/o Adie Sivan
                                            1 Brewster Street, Suite 3
                                            Glen Cove, NY 11542




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           DICKINSON WRIGHT PLLC
                                           John S. Artz
                                           350 S. Main Street, Suite 300
                                           Ann Arbor, MI 48104


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                                CLERK OF COURT

               10/7/2022
Date:
                                                                                          Signature off C
                                                                                                        Clerk
                                                                                                          lerk or Deputy Clerk
